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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL PROTECTION                      :
BUREAU,                                            :           C.A. No. 17-1323 (MN)
                                                   :
                           Plaintiff,              :
                                                   :
v.                                                 :
                                                   :
THE NATIONAL COLLEGIATE MASTER                     :
STUDENT LOAN TRUST et al.,                         :
                                                   :
                           Defendants.             :


                     DECLARATION OF ERIK HAAS IN SUPPORT OF
                     INTERVENORS’ MOTION TO CONTINUE SEAL

I, ERIK HAAS, declare as follows:

       1.      I am a member of the law firm of Patterson Belknap Webb & Tyler LLP, counsel

for Ambac Assurance Corp. (“Ambac”) in the above-captioned action.

       2.      I have reviewed the redacted portions of Intervenors’ Opening Brief in Support of

Their Motion to Dismiss Under Fed. R. Civ. P. 12(b)(6) and 12(b)(1) (“Motion to Dismiss”) and

the accompanying exhibits to the July 10, 2020 supporting Declaration of Erik Haas (“Haas

Declaration”). D.I. 334, 335, 336, 337, 338.

       3.      Exhibits 3–5 to the Haas Declaration are documents that were designated

confidential by the following parties that produced them during the course of discovery: the

Consumer Financial Protection Bureau (“CFPB”) and Wilmington Trust Company. 1 Public

dissemination of these documents would place Intervenors in violation of the Protective Order


1
 Exhibit 1, the Special Servicing Agreement (“SSA”), was designated as Confidential upon production,
but the producing party, Wilmington Trust Company, has agreed that maintaining the Confidentiality
designation is unnecessary.
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governing discovery and disclosures in this action, (D.I. 131). Exhibit 2 is the Default

Prevention and Collection Services Agreement (“DPCSA”), dated March 1, 2009, and its

amendments dated May 1, 2009, June 15, 2012, and June 21, 2012. TSI has designated the

DCSPA and its amendments as Confidential pursuant to the Protective Order.

       4.       An index in support of Intervenors’ Motion to Continue Seal, which is attached

hereto as Exhibit A, describes each exhibit and identifies the party that designated the exhibit as

confidential.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.




Executed on: July 24, 2020

                                                                 Erik Haas
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                            EXHIBIT A
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                             Exhibits Filed Under Seal
Exhibit Description                   Bates Stamp(s)              Designating
                                                                  Party/Non-
                                                                  Party
2       Default Prevention and         N/A                        Transworld
        Collection Services                                       Systems Inc.
        Agreement dated March 1,
        2009 as amended
3       Letter from Edward Keefe, of   WTC_CFPB_00000103 – 0150   Wilmington
        CFPB, to Wilmington Trust                                 Trust Company
        Company dated September 4,
        2014
4       Email from Edward Keefe, of    WTC_CFPB_00000035          Wilmington
        CFPB, to Dorri Costello, of                               Trust Company
        Wilmington Trust Company,
        dated May 9, 2016.
5       Letter and enclosed            CFPB-INTV-0003355 – 3373   CFPB
        submission from James Kosch
        of McCarter & English, to
        Edward Keefe, of CFPB,
        dated May 31, 2016.
